Case 1:21-cv-20942-JLK Document 13 Entered on FLSD Docket 08/31/2021 Page 1 of 1




                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                                CASE NO.: 1:21-CV-20942-KING

 ANN JOHNSON,

        Plaintiff,

 vs.

 ROYAL CARIBBEAN CRUISES LTD.,

       Defendant.
 ______________________________/

          NOTICE OF APPEARANCE BY TOUSSAINT M. CUMMINGS, ESQ

        Toussaint M. Cummings, Esq., of the FairLaw Firm, notices the Court and all parties of

 his appearance in this action as Counsel for Plaintiff and requests that copies of all pleadings and

 documents be sent to the address below in the Certificate of Service.

        Respectfully submitted this 31st day of August 2021.

                                                               s/Toussaint M. Cummings, Esq.
                                                               Toussaint M. Cummings, Esq.
                                                               Fla. Bar No. 119877
                                                               toussaint@fairlawattorney.com
                                                               FAIRLAW FIRM
                                                               135 San Lorenzo Avenue
                                                               Suite 770
                                                               Coral Gables, FL 33146
                                                               Tel: 305.230.4884
                                                               Counsel for Plaintiff




                                                   1


                     135 SAN LORENZO AVENUE, SUITE 770, CORAL GABLES, FLORIDA 33146
                                 TEL 305.230.4884 FAX 305.230.4844
                                      www.fairlawattorney.com
